












Dismissed and Memorandum Opinion filed April 12, 2011.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-11-00203-CR

____________

&nbsp;

TORRENCE BRIAN ELDER, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 178th District Court


Harris County, Texas

Trial Court Cause No. 1287599

&nbsp;



&nbsp;

MEMORANDUM
&nbsp;OPINION

Appellant entered a guilty plea to possession of a controlled
substance.&nbsp; In accordance with the terms of a plea bargain agreement with the
State, the trial court sentenced appellant on February 9, 2011, to confinement
for two years in the Institutional Division of the Texas Department of Criminal
Justice.&nbsp; Appellant filed a pro se notice of appeal.&nbsp; We dismiss the appeal. 

The trial court entered a certification of the defendant’s
right to appeal in which the court certified that this is a plea bargain case,
and the defendant has no right of appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court’s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The record supports the
trial court’s certification.&nbsp; See Dears v. State, 154 S.W.3d 610, 615
(Tex. Crim. App. 2005).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Chief Justice
Hedges and Justices Seymore and Boyce.

Do Not Publish C Tex. R. App. P.
47.2(b)





